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                          UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION
                                        AUSTIN

Eric Cervini, Wendy Davis, David Gins,              §
Timothy Holloway                                    §
                                                    §        NO: AU:21-CV-00568-RP
vs.                                                 §
                                                    §
Chase Stapp, Richard Roes, Rachel Roes,
Brandon Winkenwerder, Matthew Daenzer, City
of San Marcos

                                                 ORDER


                The Court hereby sets
                                 sets and directs the parties, or counsel acting on their behalf, to

                              Telephone conference
        appear by phone for a telephone Conference on October 12, 2022 at 02:40 PM . The

        parties are directed to use the below dial-in information:

                 **Please call in 5 minutes prior to start of hearing.**

                1. Toll free number: 888-363-4735

                2. Access code: 3948919

        If there are questions regarding the telephonic appearance, the parties should contact Julie

Golden, Courtroom Deputy, at julie_golden@txwd.uscourts.gov.



        The use of speaker phones is prohibited during a telephonic appearance. Additionally,

because earlier hearings in other cases may be in progress at the time attorneys call in for their
scheduled conference, attorneys should call in with their phones on “mute” and wait for the

Courtroom Deputy to call this case.before they speak.


                           on 29th day of September, 2022.




                                                        Robert Pitman
                                                        UNITED STATES DISTRICT JUDGE
